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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                             Case Number: 4:23−cr−00218

Dhirenkumar Vishnubhai Patel



                               NOTICE OF RESETTING

A proceeding has been set in this case as to Dhirenkumar Vishnubhai Patel as set
forth below.

Before the Honorable Andrew S Hanen
PLACE:
Courtroom 9D
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 12/18/2023
TIME: 01:00 PM
TYPE OF PROCEEDING: Re−Arraignment Hearing


Date: December 15, 2023                                     Nathan Ochsner, Clerk
